                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:14-00025
                                                      )       JUDGE CAMPBELL
MARIO IBERRA RAIZ                                     )
a/k/a Jose Vallecillo-Lozano                          )
MIRIAM ALVARADO-BARAHONA                              )


                                              ORDER

         Pending before the Court is a Joint Motion for Continuance (Docket No. 65) of the plea date

scheduled for September 4, 2014. The Motion is GRANTED.

         The change of plea hearing for Defendants Raiz and Alvarado-Barahona are

RESCHEDULED for September 11, 2014, at 1:30 p.m.

         It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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